Case 2:20-cv-00351-RGD-LRL Document 151 Filed 11/04/21 Page 1 of 10 PageID# 2806




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NORFOLK DIVISION

  The Coleman Company, Inc.,            )
                                        )
      Plaintiff/Counterclaim Defendant, )
                                        )
  v.                                    ) Civil Action No: 2:20cv351-RGD-RJK
                                        )
  Team Worldwide Corporation,           )
                                        )
      Defendant/Counterclaim Plaintiff  )
                                        )
  and                                   )
                                        )
  Cheng-Chung Wang                      )
                                        )
      Counterclaim Plaintiff            )
  ____________________________________ )

          TEAM WORLDWIDE CORPORATION AND CHENG-CHUNG WANG’S
       OPPOSITION TO PLAINTIFF THE COLEMAN COMPANY, INC.’S MOTION TO
          EXCLUDE AND STRIKE OPINIONS OFFERED BY DR. GLEN STEVICK

          Defendant/Counterclaim Plaintiff Team Worldwide Corporation and Counterclaim

  Plaintiff Cheng-Chung Wang (collectively, “TWW”) hereby submit the following as their

  Opposition to Plaintiff The Coleman Company, Inc.’s (“Coleman”) Motion to Exclude and Strike

  Opinions Offered by Dr. Glen Stevick.

  I.      Introduction

          Dr. Stevick’s opinions, as reflected in his reports, are based on reliable principles and

  methods and are relevant as applied to the facts of this matter. Moreover, as Dr. Stevick explains

  in his reports, the testing criticized by Coleman was not required for his opinions that the Coleman

  Accused Products meet each and every limitation of the asserted clams of the ’926 Patent. Because

  the asserted claims are apparatus and not method claims, Claim Element 1g of the ’926 Patent (the

  “whereby” clause) which Coleman points to provides the result of the claim limitations and is not


                                                   1
Case 2:20-cv-00351-RGD-LRL Document 151 Filed 11/04/21 Page 2 of 10 PageID# 2807




  itself a limitation. Regardless, the testing performed by Dr. Stevick is reliable, replicable, and

  demonstrates the resulting suction cup effect described in the asserted claims.

         In its Motion, Coleman also mischaracterizes Dr. Stevick’s testimony and reports and

  improperly characterizes Dr. Stevick’s clear explanations of the suction cup effect, air flow, and

  pressure changes. Dr. Stevick’s explanations and opinions here are intended to assist the trier of

  fact to understand these concepts. As explained below, Dr. Stevick’s findings and opinions are not

  conclusory ipse dixit as argued by Coleman.

         Dr. Stevick’s opinions are based on sufficient facts as required by Daubert and Rule 702

  of the Federal Rules of Evidence. He utilized reliable principles and methods, which he has applied

  to the facts of the case. At most, the arguments advanced by Coleman can be addressed by cross-

  examination, not exclusion. TWW respectfully requests that this Court deny Coleman’s Motion to

  Exclude and Strike Certain Opinions offered by Dr. Glen Stevick.

  II.    Background

         Dr. Stevick has Bachelor of Science, Master of Science, and Doctor of Philosophy degrees

  in mechanical engineering with over thirty-five years of experience in mechanical engineering and

  similar engineering disciplines. He provided expert opinions regarding the infringement of U.S.

  Patent No. 6,754,926 (the “’926 Patent”) by the Coleman Accused Products in two reports dated

  July 6, 2021 and August 12, 2021, respectively. 1




  1
    To avoid filing additional copies under seal of exhibits previously filed by Coleman under seal
  in its Motion, TWW cites by references certain exhibits filed by Coleman as the following: ECF
  No. 142-2, Filed Under Seal as ECF No. 143, Expert Report of Dr. Glen Stevick, Ph.D. Regarding
  Infringement of U.S. Patent No. 6,754,926, July 6, 2021 (hereinafter, Stevick Opening Report);
  ECF No. 142-4, Filed Under Seal as ECF No. 144, Reply Expert Report of Dr. Glen Stevick, Ph.D.
  Regarding Infringement of U.S. Patent No. 6,754,926, August 21, 2021 (hereinafter, Stevick
  Rebuttal Report). TWW will submit additional copies of the referenced exhibits under seal if
  requested to do so by the Court.
                                                   2
Case 2:20-cv-00351-RGD-LRL Document 151 Filed 11/04/21 Page 3 of 10 PageID# 2808




  III.   Legal Standard

         Admissibility of expert testimony is governed by Federal Rule of Evidence 702, which

  provides that a qualified expert may present opinion testimony if: (a) the expert’s scientific,

  technical, or other specialized knowledge will help the trier of fact to understand the evidence or

  to determine a fact in issue; (b) the testimony is based on sufficient facts or data; (c) the testimony

  is the product of reliable principles and methods; and (d) the expert has reliably applied the

  principles and methods to the facts of the case.” Fed. R. Evid. 702. The Court’s role is to act as a

  “gatekeeper” to ensure that expert testimony is based upon relevant and reliable principles and

  methodologies and whether the methodology is “sufficiently tied to the facts of the case.” Summit

  6, LLC v. Samsung Elecs. Co., 802 F.3d 1283, 1299 (Fed. Cir. 2015); Unilock USA, Inc. v.

  Microsoft Corp., 632 F.3d 1292, 1306 (Fed. Cir. 2011). The focus of the Daubert analysis is solely

  on “principles and methodology,” not the conclusions generated by those methodologies. Daubert

  v. Merrell Dow Pharm., Inc., 509 U.S. 579, 595 (1993). It is only when “proffered evidence…has

  a greater potential to mislead than enlighten” should it be excluded – the court need not determine

  whether the expert testimony is correct or irrefutable. Westberry v. Gislaved Gummi AB, 178 F.3d

  257, 261 (4th Cir. 1999). The dept of the data relied upon by an expert, or factual disputes regarding

  information relied upon by experts, is properly addressed by cross-examination, not exclusion.

  Daubert, 509 U.S. at 596; ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312,

  1333 (Fed. Cir. 2012); Lee v. Va. St. Bd. of Elections, No. 3:15-CV-357-HEH, 2016 WL 554829,

  at *2 (E.D. Va. Feb. 10, 2016).

  IV.    Argument

         A.      Dr. Stevick’s analysis was based on his evaluation of structural limitations of
                 the asserted claims and his testing was helpful to show the resulting effect of
                 those structural limitations



                                                    3
Case 2:20-cv-00351-RGD-LRL Document 151 Filed 11/04/21 Page 4 of 10 PageID# 2809




         Claim 1 of the ’926 Patent recites in structural terms the elements of that independent claim.

  Accordingly, in his reports, Dr. Stevick provided an element-by-element structural analysis of the

  Coleman Accused Products, which Coleman has not challenged in this Motion.

         Claim Element 1g of the ’926 Patent further states that “whereby, when a person moves

  onto said top surface of said top sheet, air is ejected from said concave air bag via a space between

  said bottom sheet and the support surface so that said bed acts as a suction cup, thereby fixing said

  bed relative to the support surface.” (ECF No. 18-1 (’926 Patent) col. 5 lines 33-38). As Dr. Stevick

  explains in his reports, during use of the air mattress, a person “moves onto and applies a

  downward force to the top surface of the top sheet. When that happens, air is ejected from the

  concave airbag between the space between the bottom sheet and the support surface. The result is

  an effect where the bed acts as a suction cup, fixing the bed relative to the support surface.” Stevick

  Opening Report at ¶ 119.

         Importantly, as Dr. Stevick also points out, no testing is required because the asserted

  claims of the ’926 Patent are apparatus claims and not method claims. See Stevick Opening

  Report at ¶ 122; Stevick Rebuttal Report at ¶ 28. The “whereby” clause in Claim Element 1g does

  not add structural limitations to the claim but rather recites the results of the structural limitations

  in the claim. Curtis Mfg. Co. v. Plasti-Clip Corp., 135 F.3d 778, 1998 WL 45452, at *10 n.5 (Fed.

  Cir. Feb. 6, 1998) (Unpublished) (internal citations omitted) (“A ‘whereby’ clause that merely

  states the result of the limitations in the claim adds nothing to the patentability or substance of the

  claim.”).

         In his Opening Infringement Report, Dr. Stevick explains that Claim Element 1g is

  nonetheless satisfied because the accused Coleman products meet the structural limitations of the

  asserted claims of the ’926 Patent:



                                                     4
Case 2:20-cv-00351-RGD-LRL Document 151 Filed 11/04/21 Page 5 of 10 PageID# 2810




          In my opinion, the construction of the Accused Products to have a concave air bag,
          i.e. a cavity bounded by the floor below and concave bottom sheet of the airbed
          above, as shown in my analysis for element 1(c) alone confirms that the Accused
          Products meet the limitations of claim 1g in that “whereby, when a person moves
          onto said top surface of said top sheet, air is ejected from said concave air bag via
          a space between said bottom sheet and the support surface so that said bed acts as
          a suction cup, thereby fixing said bed relative to the support surface.”

  Stevick Opening Report at ¶ 121. Dr. Stevick concluded that the Coleman Accused Products meet

  the structural limitations of the claim because, inter alia, they have a concave air bag (“i.e. a cavity

  bounded by the floor below and a concave bottom sheet of the airbed above”). Id. at ¶ 93-99. The

  existence of the concave air bag in the Coleman Accused Products, created by the annular

  peripheral portion of the air bed contacting the support surface when the central portion of the

  bottom sheet of the airbed is not in contact with the support surface (Id. at ¶ 97), is sufficient to

  demonstrate that the suction cup effect will occur when a person moves onto and applies pressure

  to the top of the air mattress.

          Although testing was not required because the accused Coleman products meet the

  structural limitations of the asserted claims, Dr. Stevick performed manometer pressure testing to

  further demonstrate the resulting air flow and pressure change. As described by Dr. Stevick in his

  Opening Report, this simple test involved using a flat linoleum floor with an opening for a plastic

  tube coming from underneath the floor, and the outside of the tube sealed to the floor, such that

  the plastic tube interior was open to the center of the area of the concave air bag when an inflated

  Accused Product was placed on the linoleum floor. Id. at 122. The other end of the plastic tube

  was connected to a manometer to measure pressure changes when a weight was applied to and

  removed from the top surface of the Accused Product. Id. Dr. Stevick made video recordings of

  the manometer’s pressure readings, which reflect air flow from areas of high pressure to areas of

  low pressure (Exhibit A, Deposition of Dr. Glen Stevick, August 20, 2021, 253:10-21) when a



                                                     5
Case 2:20-cv-00351-RGD-LRL Document 151 Filed 11/04/21 Page 6 of 10 PageID# 2811




  person got on to or off of a Coleman Accused Product. Stevick Opening Report at ¶ 122. This

  testing was done using a reliable form of measurement, the manometer, which Coleman does not

  contest. Moreover, Dr. Stevick testified in his deposition regarding exactly what the testing showed

  and what the manometer was measuring:

         Q:      What does the manometer test measure?

         A:      It shows that you get a high pressure when you get on, forcing air out. And when
                 you move, get off, that corresponds to when you reverse the load on a suction cup.
                 You pull a vacuum.

  Ex. A, 253:10-14.

         B.      Dr. Stevick’s deposition testimony does not contradict his report.

         In an attempt to challenge Dr. Stevick’s opinions, Coleman’s Motion mischaracterizes Dr.

  Stevick’s testimony. As discussed in the previous section, Dr. Stevick testified on what was

  physically occurring under the airbed in the concave air bag. His testimony described the process

  by which air is ejected out of the concave air bag, because, as Dr. Stevick later explains, air flow

  moves from higher pressure to lower pressure spaces. Id. at 253:10-21. He further stated that when

  the person on top of the airbed moves “that corresponds to when you reverse the load on a suction

  cup.· You pull a vacuum.” Id. at 253:10-14. Dr. Stevick further explained this effect later in his

  deposition stating that “if you’re on the edge [of the bed] and you tend to tip it, that’s when the

  suction cup will help you.” Id. at 282:7-12. Dr. Stevick’s testimony was consistent with his reports

  and his opinions and explanation regarding the suction cup effect.

         C.      Dr. Stevick’s use of manometer pressure testing is relevant and reliable.

         Coleman does not assert that a manometer is an improper tool or methodology for detecting

  pressure changes in its Motion or that placing a tube underneath a mattress is not a reliable method

  of evaluating pressure underneath the mattress compared to the air pressure outside of the mattress.

  Coleman also does not challenge Dr. Stevick’s conclusion that the pressure changes in the concave

                                                   6
Case 2:20-cv-00351-RGD-LRL Document 151 Filed 11/04/21 Page 7 of 10 PageID# 2812




  air bag are the result of reliable scientific principles. To the extent that Coleman takes issue with

  the results of Dr. Stevick’s testing, or what the testing purports to demonstrate, or the conclusion

  that the change in pressure must be as a result of air flow and not some other factor, that is properly

  the subject of cross-examination.

          Dr. Stevick’s opinions are not ipse dixit but a reasoned conclusion based upon basic laws

  of physics. Specifically, Dr. Stevick testified that air flows from high pressure to low pressure, and

  by performing a manometer test, you can determine that “air had to flow” based upon the change

  in pressure underneath the mattress. Id. at 253:15-254:17. Further, as Dr. Stevick explained in his

  report, “[w]hen a person moves atop the airbed, the person’s weight applies a downward force to

  the airbed. This reduces the volume of the concave air bag…and pushes the air out of the concave

  air bag.” Stevick Opening Report at ¶ 120. A person moving on top of the air bed can reverse this

  effect creating a vacuum, fixing the bed to the floor. Id. Coleman argues that Dr. Stevick’s use of

  the phrase “during use” is somehow conclusory, but this is a reference to the simple application of

  pressure to the top of the mattress, forcing air out from beneath the mattress. Id. These concepts

  of force, pressure, and airflow are not conclusory assertions of Dr. Stevick’s own design; rather,

  they are the scientific concepts upon which he bases his reliable scientific analysis.

          D.      Dr. Stevick’s conclusions are replicable and verifiable.

          This Court, in its Markman Order, ruled that the term “fixing” does not require construction

  and its plain and ordinary meaning applies. (ECF No. 71). In so ruling, the Court explained that

  certainty as to “how much” force is required to “fix” a mattress to a support surface is not required,

  and the common definition of the word “fix,” including to make “stable in position,” captures the

  resulting suction cup functionality of the mattress. (ECF No. 71). Moreover, as discussed above,

  testing is not required to show the suction cup effect as this is just the result of the structural

  limitations and not a limitation itself.
                                                    7
Case 2:20-cv-00351-RGD-LRL Document 151 Filed 11/04/21 Page 8 of 10 PageID# 2813




         Dr. Stevick’s testing shows the resulting suction cup effect is replicable using the

  parameters set by Dr. Stevick’s testing and measurements. Dr. Stevick’s opinion from his testing

  is that the change in pressure from the resulting air flow creates a suction cup effect. Stevick

  Opening Report at ¶¶ 119-24. This Court’s Markman ruling reflects that that suction cup effect is

  sufficient to capture that the mattress is fixed to the support surface, and specific measurement of

  the level to which the mattress is fixed, or the level of force or pressure at issue is not required.

  (ECF No. 71).

  V.     Conclusion

         For the reasons set forth above, TWW respectfully requests that this Court deny Coleman’s

  Motion to Exclude and Strike Certain Opinions offered by Dr. Glen Stevick.

  Dated: November 4, 2021

                                                   Respectfully submitted,

                                                       By: _/s/ Alexandra M. Gabriel_________
                                                       Alexandra M. Gabriel (VSB No. 89185)
                                                       William R. Poynter (VSB No. 48672)
                                                       David Sullivan (VSB No. 45027)
                                                       KALEO LEGAL
                                                       4456 Corporation Lane, Suite 135
                                                       Virginia Beach, VA 23462
                                                       Phone: 757.238.6383
                                                       Fax: 757.304.6175
                                                       agabriel@kaleolegal.com
                                                       wpoynter@kaleolegal.com
                                                       dsullivan@kaleolegal.com

                                                       Thomas M. Dunham (pro hac vice)
                                                       J. Michael Woods (pro hac vice)
                                                       RuyakCherian LLP
                                                       1901 L St. NW, Suite 700
                                                       Washington, DC 20036
                                                       Telephone: (202) 838-1560
                                                       tomd@ruyakcherian.com
                                                       michaelw@ruyakcherian.com



                                                   8
Case 2:20-cv-00351-RGD-LRL Document 151 Filed 11/04/21 Page 9 of 10 PageID# 2814




                                           Korula Cherian
                                           Robert Harkins
                                           RuyakCherian LLP
                                           1936 University Ave., Ste. 350
                                           Berkeley, CA 94702
                                           Telephone: (510) 944-0190
                                           sunnyc@ruyakcherian.com
                                           bobh@ruyakcherian.com

                                           Attorneys for Team Worldwide Corporation
                                           and Cheng-Chung Wang




                                       9
Case 2:20-cv-00351-RGD-LRL Document 151 Filed 11/04/21 Page 10 of 10 PageID# 2815




                                    CERTIFICATE OF SERVICE
           I hereby certify that I electronically filed the foregoing on November 4, 2021 with the Clerk

  of Court using the CM/ECF system, which will send a notification of such filing to all registered

  users.

                                                 By: _/s/ Alexandra M. Gabriel_________
                                                 Alexandra M. Gabriel (VSB No. 89185)
                                                 KALEO LEGAL
                                                 4456 Corporation Lane, Suite 135
                                                 Virginia Beach, VA 23462
                                                 Phone: 757.238.6383
                                                 Fax: 757.304.6175
                                                 agabriel@kaleolegal.com




                                                    10
